     CASE 0:18-cv-01201-NEB-DTS Document 10 Filed 06/18/18 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA

TERRY RICHARDS,                                Case No. 18-CV-1201 (JNE/DTS)

                    Plaintiff,

v.                                               ORDER and REPORT AND
                                                  RECOMMENDATION
TOM ROY; KATHRYN HALVORSON;
NOLA KAROW; NANETTE LARSON;
JODY OHNSTAD; RHONDA
THOMPSON; CENTURION OF
MINNESOTA L.L.C.; DOCTOR DAVID
PAULSON; DARIN HAUGLAND;
ITASCA GRAND COUNTY JAIL; and
ITASCA GRAND CLINIC HOSPITAL,
all in their official and individual
capacities,

                    Defendants.



     IT IS HEREBY ORDERED THAT:

     1.    The application to proceed in forma pauperis of plaintiff Terry Richards

           [ECF No. 2] is GRANTED.

     2.    Richards must submit a properly completed Marshal Service Form (Form

           USM-285) for each defendant. If Richards does not complete and return

           the Marshal Service Forms within 30 days of this order, it will be

           recommended that this matter be dismissed without prejudice for failure to

           prosecute. Marshal Service Forms will be provided to Richards by the

           Court.

                                         1
     CASE 0:18-cv-01201-NEB-DTS Document 10 Filed 06/18/18 Page 2 of 3



       3.     After the return of the completed Marshal Service Forms, the Clerk of

              Court is directed to seek waiver of service from each of the defendants in

              their personal capacities, consistent with Rule 4(d) of the Federal Rules of

              Civil Procedure.

       4.     If a defendant sued in his or her personal capacity fails without good cause

              to sign and return a waiver within 30 days of the date that the waiver is

              mailed, the Court will impose upon that defendant the expenses later

              incurred in effecting service of process. Absent a showing of good cause,

              reimbursement of the costs of service is mandatory and will be imposed in

              all cases in which a defendant does not sign and return a waiver of service

              form. See Fed. R. Civ. P. 4(d)(2).

       5.     The U.S. Marshals Service is directed to effect service of process on each

              of their defendants in their official capacities as officers or employees of

              the State of Minnesota consistent with Rule 4(j) of the Federal Rules of

              Civil Procedure.



       IT IS FURTHER RECOMMENDED THAT Richards’s motion for summary

judgment [ECF No. 3] be DENIED WITHOUT PREJUDICE. Service has not yet been

effected in this matter, and defendants have not yet had an opportunity to respond to the

complaint. Although a party may file a motion for summary judgment at any time until

30 days after the close of discovery, see Fed. R. Civ. P. 56(b), such motions are generally

better reserved until after the period for discovery has closed, especially where the

                                             2
      CASE 0:18-cv-01201-NEB-DTS Document 10 Filed 06/18/18 Page 3 of 3



relevant facts are likely to be disputed. Richards provides no reason to depart from the

usual course in this matter.




 Dated: June 18, 2018                           s/ David T. Schultz
                                                David T. Schultz
                                                United States Magistrate Judge


                                        NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the
District Court and is therefore not appealable directly to the Eighth Circuit Court of
Appeals.

Under Local Rule 72.2(b)(1), “a party may file and serve specific written objections to a
magistrate judge’s proposed finding and recommendations within 14 days after being
served a copy” of the Report and Recommendation. A party may respond to those
objections within 14 days after being served a copy of the objections. See Local
Rule 72.2(b)(2). All objections and responses must comply with the word or line limits
set forth in Local Rule 72.2(c).




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